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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
        v.                                        )     Case No. 3:11-CR-78 JD
                                                  )
 ALICA HITE (03)                                  )

                                              ORDER

        On September 5, 2012, Alicia Hite appeared before the Court for her sentencing hearing.

 Prior to the hearing, both parties submitted sentencing memoranda. The government stated that it

 had chosen not to file a “5K motion,” but recommended a “departure” from the guidelines based

 on Ms. Hite’s cooperation. Ms. Hite listed a number of factors under 18 U.S.C. § 3553(a) that

 she argued support a sentence below the guidelines range, including two specific “policy

 statements” of the sentencing commission, section 4A1.3(b) (over represented criminal history)

 and section 5H1.3 (mental and emotional conditions).

        At the sentencing hearing, the Court resolved objections to the presentence report and

 determined the sentencing range under the guidelines. Before moving on to determine the

 appropriate sentence in light of the factors in § 3553(a), the Court sought to clarify whether

 either party was seeking a “departure” within the guidelines framework—as contemplated by

 guideline section 1B1.1(b)—or instead simply pointing to factors that would support a

 “variance” from the guidelines framework when considering the § 3553(a) factors as a whole.

        First, the government indicated that it was seeking a downward departure for substantial

 assistance, rather than simply recommending that the Court consider Ms. Hite’s cooperation as a

 mitigating factor weighing in favor of a variance. As there is no provision in the guidelines for a
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 departure based on substantial assistance other than section 5K1.1,1 the Court interpreted this as

 a motion under that section, notwithstanding the government’s earlier announcement that it had

 decided not to “file a 5K motion.” The Court heard argument from the parties and granted a

 departure of three levels under guideline section 5K1.1, based on the extent, usefulness, and

 timeliness of Ms. Hite’s assistance.

        Next, defense counsel, for the first time, informed the Court that Ms. Hite was seeking

 “departures” under guideline sections 4A1.3 and 5H1.3, in addition to urging the Court to

 consider these as factors under § 3553(a). The Court is aware that the Seventh Circuit has, since

 Booker, described the concept of “departure” as “outmoded” and “obsolete” and stressed that

 decisions interpreting the departure provisions are now useful only by way of analogy to 3553(a)

 sentencing considerations. See United States v. Castro-Juarez, 425 F.3d 430, 436 (7th Cir.

 2005). Because the “guideline range” is established before departures are considered under Parts

 H and K of Chapter Five, and because the guidelines are now just one factor among many that

 the Court must consider, the Seventh Circuit has concluded that adherence to the strict departure

 regime of the mandatory guidelines “would vitiate the post-Booker sentencing discretion that

 sentencing courts enjoy.” Id. at 436.

        Nevertheless, in 2010 the Sentencing Commission urged district courts to continue to

 make use of “departures” and revised the guidelines application instructions to create a three step

 approach: first, the district court calculates the guidelines range, 1B1.1(a); second, it considers

 whether to “depart” from the guidelines within the guidelines framework by considering Parts H


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         Application Note 2B to the “Grounds for Departure” guideline, § 5K2.0, states that “This
 policy statement does not cover the following departures, which are addressed elsewhere in the
 guidelines: . . . (ii) departures based on the defendant’s substantial assistance to the authorities.”

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 and K of Chapter Five, and any other policy statements and commentary in the guidelines,

 1B1.1(b); and third, it considers the 3553(a) factors, which of course might result in a “variance”

 to a non-guidelines sentence, 1B1.1(c). Although the Seventh Circuit has continued to express

 scepticism over the continued utility of “departures,” see United States v. Lucas, 670 F.3d 784,

 791 (7th Cir. 2012) (“The concept of departures was rendered obsolete when the guidelines were

 made advisory in Booker.”), it has also made clear that “the ‘obsolete’ line of cases should not

 discourage district courts from taking genuine guidance from all the Guidelines, including their

 departure provisions, as required under the amended section 1B1.1.” United States v. Guyton,

 636 F.3d 316, 319 n.2 (7th Cir. 2011). So long as it does not give undue weight to “departure”

 provisions at the expense of non-guideline factors under § 3553(a), and thereby put a thumb on

 the scale favoring the guidelines framework, the Court sees no inconsistency between following

 the instructions in section 1B1.1 and the Seventh Circuit’s treatment of “departures.”

        Therefore, in light of the defendant’s specific request that the Court consider

 “departures” under sections 4A1.3 and 5H1.3, the Court will consider these at the second step

 under revised guideline section 1B1.1(b), in addition to taking them into account in determining

 the reasonable sentence based on all the factors in § 3553(a). First, with regard to the request for

 a downward departure under section 4A1.3(b), the Court notes that Ms. Hite is already in

 Criminal History Category I, and that section 4A1.3(b)(2)(A) unequivocally prohibits “[a]

 departure below the lower limit of the applicable guideline range for Criminal History Category

 I.” See United States v. Goff, 20 F.3d 918, 920 (8th Cir. 1994) (holding that departing from

 Criminal History Category I “is an incorrect application of the guidelines”). Ultimately, after

 reviewing that provision during the hearing, counsel for defendant withdrew the request. This


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 does not, of course, prevent the Court from taking into account the fact that Ms. Hite is a first

 time offender as a mitigating factor when considering her history and characteristics under §

 3553(a)(1).

        Second, the Court has considered Ms. Hite’s request for a downward departure based on

 her mental and emotional conditions but exercises its discretion not to grant such a departure.

 Prior to November 2010, section 5H1.3 instructed that mental and emotional conditions were not

 ordinarily relevant in determining whether a departure was warranted. The guideline was

 amended, however, to state that “mental and emotional conditions may be relevant in

 determining whether a departure is warranted, if such conditions, individually or in combination

 with other offender characteristics, are present to an unusual degree and distinguish the case

 from the typical cases covered by the guidelines.” The Court has examined Dr. Warren Sibilla’s

 (sealed) report and considered defense counsel’s written submission and argument at the hearing.

 The Court agrees that Dr. Sibilla’s findings could support a finding that Ms. Hite’s mental and

 emotional conditions—especially her dependant personality traits, but also her depression,

 anxiety, and low self-worth—played a role in her involvement in the drug conspiracy. The Court

 is not convinced, however, that these characteristics are present to such an unusual degree that a

 departure within the guidelines framework is warranted. Dr. Sibilla did note dependant

 personality traits, but did not diagnose Ms. Hite with dependant personality disorder. While the

 evidence shows some relevant mental and emotional conditions, it does not establish that

 depression and dependent personality traits (surely not uncommon in criminal defendants) were

 present to an unusual degree in this case, especially given that Ms. Hite’s role in the conspiracy

 was as a leader and not a follower. Once again, however, the Court stresses that in exercising its


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 discretion to deny a departure under section 5H1.3, the Court acknowledges that Ms. Hite’s

 mental and emotional conditions do constitute mitigating factors, which when considered

 together with the other factors the Court must consider under § 3553(a), might warrant a

 sentence lower than the applicable guidelines range in this case.

        Finally, the Court emphasizes that the weight it ultimately gives to Ms. Hite’s criminal

 history and mental and emotional conditions will be the same regardless of whether the Court

 considers them as part of its application of the guidelines framework, as a consideration of policy

 statements of the Sentencing Commission under § 3553(a)(5)(A), or generally as elements of the

 nature and circumstances of the offense or the history and characteristics of the defendant. In the

 end, what matters most is not whether these factors are considered as “departures” or

 “variances,” but that they, along with the sentencing range applicable in this case and the other

 factors set out in § 3553(a), influence the determination of “a sentence sufficient but not greater

 than necessary to comply with the purposes set forth in § 3553(a)(2).”

        The defendant’s motions for downward departures under guidelines sections 4A1.3 and

 5H1.3 are therefore DENIED. The Court will proceed to consider the appropriate sentence under

 18 U.S.C. § 3553(a) when the sentencing hearing resumes.

        SO ORDERED.

        ENTERED: September 18, 2012


                                                     /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court




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